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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION
      Khan v. Anda, Inc.,                                              )
            M.D.Florida, C.A. No. 8:19-02479                           )              MDL No. 2804


                ORDER VACATING CONDITIONAL TRANSFER ORDER


        A conditional transfer order was filed in this action (Khan) on October 8, 2019. Prior to
expiration of that order’s 7-day stay of transmittal, plaintiff in Khan filed a notice of opposition to
the proposed transfer. The Panel has now been advised that Khan was remanded to the Circuit Court
of the Thirteenth Judicial Circuit, Hillsborough County, Florida, by the Honorable Mary S. Scriven
in an order filed on October 10, 2019.

     IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
“CTO-115" filed on October 8, 2019, is VACATED insofar as it related to this action.


                                                       FOR THE PANEL:



                                                       John W. Nichols
                                                       Clerk of the Panel
